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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                      )
DEFENDER SERVICES INC.,                               )
                                                      )
                Plaintiff,                            )
                                                      )
        v.                                            )       Civil Action No. 20-0636 (RC)
                                                      )
U.S. CITIZENSHIP AND IMMIGRATION                      )
SERVICES,                                             )
                                                      )
                Defendant.                            )
                                                      )

                                STIPULATION OF DISMISSAL

        Plaintiff Defender Services Inc. and Defendant United States Citizenship and

Immigration Services, by their respective undersigned counsel and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), hereby agree and stipulate to the dismissal of this action in its

entirety with prejudice, with each party to bear its own attorney’s fees and costs. This resolves

all claims in the action.

Dated: August 10, 2020                           Respectfully submitted,

                                                        /s/ Michael E. Piston (by permission)
                                                 Michael E. Piston MI 002
                                                 225 Broadway, Suite 307
                                                 New York, NY 10007
                                                 Telephone: (212) 646-9895
                                                 Facsimile: (206) 770-6350
                                                 michaelpiston4@gmail.com

                                                 Counsel for Plaintiff

                                                 MICHAEL R. SHERWIN
                                                 Acting United States Attorney

                                                 DANIEL F. VAN HORN, D.C. Bar #924092
                                                 Chief, Civil Division
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                            By:     /s/ Paul Cirino
                            PAUL CIRINO
                            Assistant United States Attorney
                            Civil Division
                            U.S. Attorney’s Office, District of Columbia
                            555 Fourth Street, N.W.
                            Washington, D.C. 20530
                            Telephone: (202) 252-2529
                            Facsimile: (202) 252-2599
                            paul.cirino@usdoj.gov

                            Counsel for Defendant




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